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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    :
                                            :       Case No. 22-cr-00133 (CKK)
              v.                            :
                                            :
ARIAN TAHERZADEH, et al.,                   :


                                     NOTICE OF FILING

        The government requests that the attached discovery letter, dated June 22, 2022, be made
part of the record in this case.

                                                    Respectfully submitted,

                                                    MATTHEW M. GRAVES
                                                    United States Attorney


                                             By:    _/s/ Joshua S. Rothstein
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